                                 UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF MICHIGAN
                                        SOUTHERN DIVISION


In re:

Ark Laboratory, LLC.                                                                 Case No. 23-43403
                                                                                     Chapter 11
                  Debtor.                                                            Hon. Maria L. Oxholm
______________________________/

                               Order Establishing Deadlines and Procedures

        After reviewing of the schedules and statement of financial affairs and consulting with the
debtor and the other parties1 who appeared at the initial status conference, the Court concludes that
this case is appropriate for the procedures set forth in this order, and establishes the following
deadlines, hearing dates and procedures. The purpose of this order is to expedite the debtor's
reorganization and to secure "the just, speedy, and inexpensive determination of [this] case . . . ."
Fed. R. Bankr. P. 1001.

         1. Deadlines and Hearing Dates. The following deadlines and hearing dates are established:

             a.   For creditors who are required by law to file claims, the deadline is August 21, 2023,
                  except that for governmental units the deadline to file claims November 20, 2023.

             b.   The deadline for the debtor to file motions (see & 7) is June 12, 2023. This is also
                  the deadline to file all unfiled overdue tax returns. The case will not be delayed due
                  to unfiled tax returns.

             c.   The deadline for parties to request the debtor to include any information in the
                  disclosure statement (see & 3) is July 11, 2023.

             d.   The deadline for the debtor to file a combined plan and disclosure statement (see &
                  2) is August 10, 2023.

             e.   The deadline to return ballots on the plan, as well as to file objections to final
                  approval of the disclosure statement and objections to confirmation of the plan, is
                  September 14, 2023. The completed ballot form shall be returned by mail to the
                  debtor's attorney: Robert N. Bassel, P.O. Box T, Clinton, MI 49236.




1 For purposes of this order, the terms, "party" or "parties" refers to the debtor, the creditors, the interest holders, and
the United States Trustee.

                                                             1

   23-43403-mlo           Doc 122        Filed 05/23/23          Entered 05/23/23 13:36:28               Page 1 of 3
            f.    The hearing on objections to final approval of the disclosure statement and
                  confirmation of the plan shall be held on September 21, 2023, at 11:00 a.m., in
                  Room 1875, 211 W. Fort Street, Detroit, Michigan.

            g.    The deadline for all professionals to file final fee applications (see & 8) is 30 days
                  after the confirmation order is entered.

            h.    The deadline to file objections to this order (see & 9) is June 13, 2023.

            i.    The deadline to file a motion to extend the deadline to file a plan (see & 10) is July
                  11, 2023.

            j.    The deadline to file a motion to extend the time to file a motion to assume or reject
                  a lease under 11 U.S.C. ' 365(d) is July 21, 2023. Counsel for the debtor shall
                  consult with the courtroom deputy to assure that such a motion is set for hearing
                  before August 10, 2023.

            k.    These dates and deadlines are subject to change upon notice if the debtor files a plan
                  before the deadline in & 1d above.

        2. The Plan. The debtor shall begin to negotiate the terms of a plan of reorganization and
a disclosure statement as soon as practicable. See 11 U.S.C. '1106(a)(5). By the deadline
established in paragraph 1d, the debtor shall file a plan of reorganization and a disclosure statement
combined into one document. If the debtor fails to meet this deadline, the case may be dismissed or
converted to chapter 7 pursuant to 11 U.S.C. '1112(b)(4).

        3. Preparation of the Disclosure Statement. It is the policy of the Court to eliminate
unnecessary, time-consuming, and costly litigation concerning the adequacy of the disclosure
statement. Accordingly, in preparing the disclosure statement, the debtor (1) shall include all
information in the "Requirements for Information to Include in the Combined Plan and Disclosure
Statement," prepared by the Court, and (2) shall consider any request by any party to include any
additional information. Any such request shall be submitted to the debtor's attorney by the deadline
established in paragraph 1c. The parties shall submit to the Court for informal resolution any
disputes about the disclosure statement before the debtor files it. This informal resolution may be
requested in a telephone conference call. Unless good cause is shown, the Court will not consider
any objection to a disclosure statement asserted by anyone who has not participated in the
procedures set forth in this paragraph.

       4. Preliminary Approval of the Disclosure Statement. When the debtor files the
combined disclosure statement and plan, the Court will consider whether to grant preliminary
approval of the disclosure statement.2 If the Court does not grant preliminary approval, the Court


2 Counsel for the debtor is advised that preliminary approval will be granted only to a disclosure statement that contains
the information required in the "Requirements for Information to Include in the Combine Plan and Disclosure
Statement." Counsel for the debtor and parties may obtain a copy of the requirements from the court's website
at www.mieb.uscourts.gov.

                                                            2

   23-43403-mlo          Doc 122        Filed 05/23/23          Entered 05/23/23 13:36:28               Page 2 of 3
will schedule an expedited hearing with such notice as the Court deems appropriate, to advise the
debtor's attorney of the Court's decision. When the Court does enter an order granting preliminary
approval, the debtor may then begin soliciting acceptances of the plan. Within three days after the
entry of the order granting preliminary approval, the debtor shall arrange to mail that order, the
combined plan and disclosure statement, any other statement approved by the Court pursuant to
Rule 3017(d), and a ballot, to whomever is entitled by law to service.

        5. The Combined Hearing on the Plan and Disclosure Statement. Subject to paragraph
3, parties may file objections to the disclosure statement and to the plan by the deadline established
in paragraph 1e above. An objection to a disclosure statement shall state with particularity the
objecting party's participation in the procedures set forth in paragraph 3. Objections shall be served
on the attorney for the debtor, the attorney and the chairperson of any official committee, and the
United States Trustee. A proof of such service shall be filed with the objections. Objections which
are not timely filed and served will be deemed waived. If, after considering objections, the Court
does not approve the disclosure statement, the Court will not consider confirmation of the plan.

         6. Ballot Summary. At least two business days before the confirmation hearing, the debtor
shall file a verified summary of the ballot count under § 1126(c) and (d) with a copy of all original
ballots attached. The debtor shall have the originals of the ballots available at the confirmation
hearing.

        7. Expediting the Debtor's Reorganization. If necessary to file a plan by the deadline
established in this order, the debtor shall file any motions or requests to value security pursuant to
L.B.R. 9014-1 by the deadline established in paragraph 1b above.

       8. Fee Applications. Unless the Court orders otherwise, each professional shall file only
one final fee application. Such applications shall be filed pursuant to L.B.R. 2016-1 and L.B.R.
9014-1 by the deadline set forth in paragraph 1g, above.

       9. Deadline to File Objections to this Order. Any objection to this order must be filed by
the deadline set forth in paragraph 1h, above. Objections not timely filed are waived.

        10. Motions to Extend the Deadline to File a Plan and Disclosure Statement. Any such
motion must be filed by the deadline in paragraph 1i. The motion shall demonstrate by affidavit or
otherwise that the request is necessary due to extraordinary and unforeseen circumstances. The
Court will schedule a hearing, and counsel for the debtor shall serve the motion and a notice of the
hearing to the U.S. Trustee, all secured creditors, the 20 largest unsecured creditors and counsel for
the creditors' committee, if any, and shall file a proof of service.

Signed on May 23, 2023




                                                  3

  23-43403-mlo       Doc 122      Filed 05/23/23      Entered 05/23/23 13:36:28       Page 3 of 3
